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8                                 UNITED STATES DISTRICT COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

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11   E. HOWARD MUSGROVE, an individual )            Case No. CV 17-6565 FMO (SSx)
     on behalf of himself and others similarly )
12   situated,                                 )
                                               )
13                        Plaintiff,           )    JUDGMENT
                                               )
14                 v.                          )
                                               )
15   JACKSON NURSE PROFESSIONALS, )
     LLC, et al.,                              )
16                                             )
                          Defendants.          )
17                                             )

18         Pursuant to the Court’s Order Re: Final Approval of Class Action Settlement (“Order”), filed

19   contemporaneously with the filing of this Judgment, IT IS ADJUDGED THAT:

20         1.   Plaintiff E. Howard Musgrove shall be paid a service payment of $7,500.00 in

21   accordance with the terms of the Settlement Agreement and the Order.

22         2. Class counsel shall be paid $658,333.33 in attorney’s fees, and $5,424.37 in costs in

23   accordance with the terms of the Settlement Agreement and the Order.

24         3. The Claims Administrator, ILYM, shall be paid for its fees and expenses in accordance

25   with the terms of the Settlement Agreement.

26         4. The LWDA shall be paid $37,500.00 pursuant to the Settlement Agreement.

27         5. All class members who did not validly and timely request exclusion have released their

28   claims, as set forth in the Settlement Agreement, against any of the released parties (as defined
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1    in the Settlement Agreement).

2           6. Except as to any class members who have validly and timely requested exclusion, this

3    action is dismissed with prejudice, with all parties to bear their own fees and costs except as set

4    forth herein and in the prior orders of the court.

5    Dated this 24th day of June, 2022.

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7                                                                       /s/
                                                                  Fernando M. Olguin
8                                                              United States District Judge

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